Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 1 of 26



                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

     BROOKE TAYLOR a/k/a BROOKE JOHNSON,
     JESSE GOLDEN a/k/a JESSICA GOLDEN,
     JESSA HINTON a/k/a JESSICA HINTON,
     KIMBERLY COZZENS, LAURIE ANN                         CASE NO. 17-cv-62262-KMM
     YOUNG, MASHA LUND, URSULA MAYES,
     SANDRA VALENCIA, SARA UNDERWOOD,
     TIFFANY TOTH a/k/a TIFFANY TOTH GRAY,
     ARIANNY CELESTE LOPEZ, CIELO JEAN
     GIBSON, DESSIE MITCHESON, and IRINA
     VORONINA

            Plaintiffs’,

     vs.

     TRAPEZE MANAGEMENT, LLC d/b/a
     TRAPEZE FORT LAUDERDALE d/b/a
     TRAPEZE and TRAPEZE OF GEORGIA, INC.
     d/b/a TRAPEZE ATLANTA d/b/a TRAPEZE,

            Defendants.
                                                     /


      ANSWER AND DEFENSES TO SECOND AMENDED COMPLAINT

            COME NOW, the Defendants, by and through their undersigned attorneys, and

     hereby answer the correspondingly numbered paragraphs of Plaintiffs’ Second Amended

     Complaint as follows:

            1.      Denied.

            2.      Denied.

            3.      Without knowledge as to what “images” are being referred to in this

     paragraph.
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 2 of 26



               4.    Without knowledge as to what “proper channels” may be. Otherwise

     denied.

               5.    Without knowledge.

               6.    Without knowledge.

               7.    Denied.

               8.    Denied.

               9.    Denied.

               10.   Denied.

               11.   Denied.

               12.   Denied.

               13.   Denied.

               14.   Without knowledge as to the Plaintiffs’ intentions. Denied that Plaintiffs

     can make a recovery against Defendants, or either of them.

               15.   Without knowledge.

               16.   Without knowledge.

               17.   Without knowledge.

               18.   Without knowledge.

               19.   Without knowledge.

               20.   Without knowledge.

               21.   Without knowledge.

               22.   Without knowledge.

               23.   Without knowledge.

               24.   Without knowledge.


                                            Page 2 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 3 of 26



            25.      Without knowledge.

            26.      Without knowledge.

            27.      Without knowledge.

            28.      Without knowledge.

            29.      Without knowledge.

            30.      Admitted.

            31.      Defendant Trapeze Management, LLC was fundamentally a social

     organization rather than a commercial enterprise so that the characterization that Defendant

     “did business” is not entirely accurate. Defendant Trapeze Management, LLC did not

     commonly operate under the name “Trapeze Fort Lauderdale”. Otherwise admitted.

            32.      Admitted.

            33.      Admitted that Defendant Trapeze Management, LLC makes use of the

     trapezeclub.com website. Otherwise denied.

            34.      Admitted that Defendant Trapeze Management, LLC had members from

     around the world and held “swinger events” on a regular basis. Otherwise denied.

            35.      Admitted that Defendant Trapeze Management, LLC makes use of the

     trapezeclub.com website as well as social media platforms. Otherwise denied.

            36.      Admitted that content of the sort stated in the Complaint appears or has

     appeared on the trapeze.com website and that the statements accurately describe the

     organization.

            37.      Defendant Trapeze of Georgia, Inc. was fundamentally a social

     organization rather than a commercial enterprise so that the characterization that Defendant




                                            Page 3 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 4 of 26



     “did business” is not entirely accurate. Trapeze of Georgia, Inc. did not commonly operate

     under the name “Trapeze Atlanta”. Otherwise admitted.

            38.      Admitted.

            39.      Admitted that Trapeze of Georgia, Inc. makes use of the trapezeclub.com

     website. Otherwise denied.

            40.      Admitted that Trapeze of Georgia, Inc. had members from around the world

     and held “swinger events” on a regular basis. Otherwise denied.

            41.      Admitted that Trapeze of Georgia, Inc. makes use of the trapezeclub.com

     website as well as social media platforms. Otherwise denied.

            42.      Admitted that content of the sort stated in the Complaint appears or has

     appeared on the trapeze.com website and that the statements accurately describe the

     organization.

            43.      Admitted that Defendants operated a swingers club. Denied that Defendants

     or their members / patrons engaged in “lewd and lascivious activities. As previously

     explained, Defendants are fundamentally a social organization as opposed to commercial

     endeavors. Otherwise denied.

            44.      Admitted that Defendants make use of the trapezeclub.com website and that

     they have registered to access the social media platforms as alleged in the Complaint.

     Otherwise denied.

            45.      Denied.

            46.      Admitted that this Court has subject matter jurisdiction over this dispute;

     denied in all other respects.




                                            Page 4 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 5 of 26



            47.     Admitted that this Court has personal jurisdiction over the Defendants;

     denied in all other respects.

            48.     Admitted that venue is proper in this District; denied in all other respects.

            49.     Without knowledge.

            50.     Without knowledge.

            51.     Without knowledge.

            52.     Without knowledge.

            53.     Without knowledge.

            54.     Denied.

            55.     Without knowledge.

            56.     Without knowledge.

                    a.      Without knowledge.

                    b.      Without knowledge.

                    c.      Without knowledge.

                    d.      Without knowledge.

            57.     Without knowledge.

            58.     Denied that that advertising for a swinger’s club would “jeopardize” the

     career of any of the Plaintiffs. Otherwise, without knowledge.

            59.     Denied.

            60.     Denied.

            61.     Denied.

            62.     Denied.




                                            Page 5 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 6 of 26




            63.    Without knowledge.

            64.    Without knowledge.

            65.    Admitted that the image shown in Exhibit “A” appeared on Defendants’

     website and that the quoted text also appeared on the website. Otherwise denied.

            66.    Admitted that the image shown in Exhibit “A” appeared on Defendants’

     website and that the website was intended to promote Defendants’ social organization.

     Otherwise denied.

            67.    Admitted.

            68.    Admitted.

            69.    Admitted.

            70.    Admitted that Plaintiff did not negotiate directly with Defendants for the

     use of the photograph. Otherwise without knowledge.

            71.    Admitted that Plaintiff did not negotiate directly with Defendants for the

     use of the photograph. Otherwise without denied.

            72.    Denied.

            73.    Denied.

            74.    Without knowledge.

            75.    Without knowledge.

            76.    Admitted that the image shown in Exhibit “B” appeared on Defendants’

     website and that the quoted text also appeared on the website. Otherwise denied.




                                           Page 6 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 7 of 26



            77.    Admitted that the image shown in Exhibit “B” appeared on Defendants’

     website and that the website was intended to promote Defendants’ social organization.

     Otherwise denied.

            78.    Admitted.

            79.    Admitted.

            80.    Admitted that Plaintiff did not negotiate directly with Defendants for the

     use of the photograph. Otherwise without knowledge.

            81.    Admitted that Plaintiff did not negotiate directly with Defendants for the

     use of the photograph. Otherwise denied.

            82.    Denied.

            83.    Denied.

            84.    Without knowledge.

            85.    Without knowledge.

            86.    Admitted that the image shown in Exhibit “C” appeared on Defendants’

     website and that the quoted text also appeared on the website. Otherwise denied.

            87.    Admitted that the image shown in Exhibit “C” appeared on Defendants’

     website and that the website was intended to promote Defendants’ social organization.

     Otherwise denied.

            88.    Admitted.

            89.    Admitted.

            90.    Admitted.

            91.    Admitted that Plaintiff did not negotiate directly with Defendants for the

     use of the photograph. Otherwise without knowledge.


                                           Page 7 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 8 of 26



            92.    Admitted that Plaintiff did not negotiate directly with Defendants for the

     use of the photograph. Otherwise denied.

            93.    Denied.

            94.    Denied.

            95.    Without knowledge.

            96.    Without knowledge.

            97.    Admitted that the image shown in Exhibit “D” appeared on Defendants’

     website and that the quoted text also appeared on the website. Otherwise denied.

            98.    Admitted that the image shown in Exhibit “D” appeared on Defendants’

     website and that the website was intended to promote Defendants’ social organization.

     Otherwise denied.

            99.    Admitted.

            100.   Admitted.

            101.   Admitted.

            102.   Admitted that Plaintiff did not negotiate directly with Defendants for the

     use of the photograph. Otherwise without knowledge.

            103.   Admitted that Plaintiff did not negotiate directly with Defendants for the

     use of the photograph. Otherwise denied.

            104.   Denied.

            105.   Denied.

            106.   Without knowledge.

            107.   Without knowledge.




                                           Page 8 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 9 of 26



            108.   Admitted that the image shown in Exhibit “E” appeared on Defendants’

     website and that the quoted text also appeared on the website. Otherwise denied.

            109.   Admitted that the image shown in Exhibit “E” appeared on Defendants’

     website and that the website was intended to promote Defendants’ social organization.

     Otherwise denied.

            110.   Admitted.

            111.   Admitted.

            112.   Admitted.

            113.   Admitted that Plaintiff did not negotiate directly with Defendants for the

     use of the photograph. Otherwise without knowledge.

            114.   Admitted that Plaintiff did not negotiate directly with Defendants for the

     use of the photograph. Otherwise denied.

            115.   Denied.

            116.   Denied.

            117.   Without knowledge.

            118.   Without knowledge.

            119.   Admitted that the image shown in Exhibit “F” appeared on Defendants’

     website and that the quoted text also appeared on the website. Otherwise denied.

            120.   Admitted that the image shown in Exhibit “F” appeared on Defendants’

     website and that the website was intended to promote Defendants’ social organization.

     Otherwise denied.

            121.   Admitted.

            122.   Admitted.


                                           Page 9 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 10 of 26



             123.   Admitted.

             124.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise without knowledge.

             125.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise denied.

             126.   Denied.

             127.   Denied.

             128.   Without knowledge.

             129.   Without knowledge.

             130.   Admitted that the image shown in Exhibit “G” appeared on Defendants’

      website and that the quoted text also appeared on the website. Otherwise denied.

             131.   Admitted that the image shown in Exhibit “G” appeared on Defendants’

      website and that the website was intended to promote Defendants’ social organization.

      Otherwise denied.

             132.   Admitted.

             133.   Admitted.

             134.   Admitted.

             135.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise without knowledge.

             136.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise denied.

             137.   Denied.

             138.   Denied.


                                           Page 10 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 11 of 26



             139.   Without knowledge.

             140.   Without knowledge.

             141.   Admitted that the image shown in Exhibit “H” appeared on Defendants’

      website and that the quoted text also appeared on the website. Without knowledge

      regarding “”SDC.com”. Otherwise denied.

             142.   Admitted that the image shown in Exhibit “H” appeared on Defendants’

      website and that the website was intended to promote Defendants’ social organization.

      Otherwise denied.

             143.   Admitted.

             144.   Admitted.

             145.   Admitted.

             146.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise without knowledge.

             147.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise denied.

             148.   Denied.

             149.   Denied.

             150.   Without knowledge.

             151.   Without knowledge.

             152.   Admitted that the image shown in Exhibit “I” appeared on Defendants’

      website and that the quoted text also appeared on the website. Otherwise denied.




                                           Page 11 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 12 of 26



             153.   Admitted that the image shown in Exhibit “C” appeared on Defendants’

      website and that the website was intended to promote Defendants’ social organization.

      Otherwise denied.

             154.   Admitted.

             155.   Admitted.

             156.   Admitted.

             157.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise without knowledge.

             158.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise denied.

             159.   Denied.

             160.   Denied.

             161.   Without knowledge.

             162.   Without knowledge.

             163.   Admitted that the image shown in Exhibit “J” appeared on Defendants’

      website and that the quoted text also appeared on the website. Otherwise denied.

             164.   Admitted that the image shown in Exhibit “F” appeared on Defendants’

      website and that the website was intended to promote Defendants’ social organization.

      Without knowledge regarding “SDC.com”. Otherwise denied.

             165.   Admitted.

             166.   Admitted.

             167.   Admitted.




                                           Page 12 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 13 of 26



             168.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise without knowledge.

             169.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise denied.

             170.   Denied.

             171.   Denied.

             172.   Without knowledge.

             173.   Without knowledge.

             174.   Admitted that the image shown in Exhibit “K” appeared on Defendants’

      website and that the quoted text also appeared on the website. Otherwise denied.

             175.   Admitted that the image shown in Exhibit “K” appeared on Defendants’

      website and that the website was intended to promote Defendants’ social organization.

      Otherwise denied.

             176.   Admitted.

             177.   Admitted.

             178.   Admitted.

             179.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise without knowledge.

             180.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise denied.

             181.   Denied.

             182.   Denied.

             183.   Without knowledge.


                                           Page 13 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 14 of 26



             184.   Without knowledge.

             185.   Admitted that the image shown in Exhibit “L” appeared on Defendants’

      website and that the quoted text also appeared on the website. Otherwise denied.

             186.   Admitted that the image shown in Exhibit “L” appeared on Defendants’

      website and that the website was intended to promote Defendants’ social organization.

      Otherwise denied.

             187.   Admitted.

             188.   Admitted.

             189.   Admitted.

             190.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise without knowledge.

             191.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise denied.

             192.   Denied.

             193.   Denied.

             194.   Without knowledge.

             195.   Without knowledge.

             196.   Admitted that the image shown in Exhibit “M” appeared on Defendants’

      website and that the quoted text also appeared on the website. Otherwise denied.

             197.   Admitted that the image shown in Exhibit “M” appeared on Defendants’

      website and that the website was intended to promote Defendants’ social organization.

      Otherwise denied.

             198.   Admitted.


                                           Page 14 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 15 of 26



             199.   Admitted.

             200.   Admitted.

             201.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise without knowledge.

             202.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise denied.

             203.   Denied.

             204.   Denied.

             205.   Without knowledge.

             206.   Without knowledge.

             207.   Admitted that the image shown in Exhibit “N” appeared on Defendants’

      website and that the quoted text also appeared on the website. Otherwise denied.

             208.   Admitted that the image shown in Exhibit “N” appeared on Defendants’

      website and that the website was intended to promote Defendants’ social organization.

      Otherwise denied.

             209.   Admitted.

             210.   Admitted.

             211.   Admitted.

             212.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise without knowledge.

             213.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise denied.

             214.   Denied.


                                           Page 15 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 16 of 26



             215.   Denied.

             216.   Without knowledge.

             217.   Without knowledge.

             218.   Admitted that the image shown in Exhibit “O” appeared on Defendants’

      website and that the quoted text also appeared on the website. Otherwise denied.

             219.   Admitted that the image shown in Exhibit “O” appeared on Defendants’

      website and that the website was intended to promote Defendants’ social organization.

      Otherwise denied.

             220.   Admitted.

             221.   Admitted.

             222.   Admitted.

             223.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise without knowledge.

             224.   Admitted that Plaintiff did not negotiate directly with Defendants for the

      use of the photograph. Otherwise denied.

             225.   Denied.

             226.   Denied.

             227.   Denied that the August 9, 2017 was sent on behalf of Plaintiff LUCY

      PINDER, gave any notice with the respect to that Plaintiff or made any demands with

      respect to Ms. Pinder. Otherwise admitted that the subject letter was received by

      Defendants.

             228.   Denied as to Plaintiff LUCY PINDER. Admitted that the subject letter was

      received by Defendants. Otherwise denied.


                                           Page 16 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 17 of 26



             229.    Denied as to Plaintiff LUCY PINDER. Otherwise admitted that the letter

      provided notice of the other Plaintiffs’ claims.

             230.    Denied as to Plaintiff LUCY PINDER. Otherwise admitted that the letter

      provided notice of the other Plaintiffs’ claims.

             231.    Denied as to Plaintiff LUCY PINDER. Otherwise admitted that the letter

      made the alleged demand on behalf of the other Plaintiffs.

             232.    Denied as to Plaintiff LUCY PINDER. Otherwise admitted that the letter

      provided notice of the other Plaintiffs’ claims.

             233.    Denied as to Plaintiff LUCY PINDER. Otherwise admitted that the letter

      provided notice of the other Plaintiffs’ claims.

             234.    Admitted that Defendants did not pay Plaintiffs anything in response to their

      demand. Otherwise denied.

             235.    Without knowledge.

             236.    Admitted that a demand has been made on behalf of Plaintiff LUCY

      PINDER. Otherwise denied.

             237.    Admitted that an excerpt from the Lanham Act is quoted. Denied that

      Plaintiffs are entitled to any relief under the Lanham Act. Otherwise denied.

             238.    Denied.

             239.    Denied.

             240.    Denied.

             241.    Denied.




                                             Page 17 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 18 of 26



             242.    Denied.

             243.    Admitted that Defendants make use of the Internet to promote their social

      organization. Otherwise denied.

             244.    Admitted that Defendants make use of the Internet to promote their social

      organization. Otherwise denied.

             245.    Denied.

             246.    Denied.

             247.    Denied.

             248.    Denied.

             249.    Denied.

             250.    Denied.

             251.    Denied.

             252.    Denied.

             253.    Denied.

             254.    Denied.

             255.    Denied.

             256.    Without knowledge concerning Plaintiffs’ business endeavors. Otherwise

      without knowledge.

             257.    Denied.

             258.    Denied.

             259.    Denied.

             260.    Admitted that Plaintiffs’ images appeared on Defendants’ website for a

      brief period of time. Otherwise denied.


                                            Page 18 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 19 of 26



             261.    Denied.

             262.    Denied.

             263.    Denied.

             264.    Denied.

             265.    Denied.

             266.    Admitted as a general statement. Denied in this context.

             267.    Admitted that a portion of §540.08, Fla.Stat. is quoted. Otherwise denied.

             268.    Admitted that Plaintiffs’ images appeared on Defendants’ website for a

      brief period of time. Otherwise denied.

             269.    Admitted.

             270.    Admitted that Defendants did not negotiate directly with any of the

      Plaintiffs. Otherwise without knowledge.

             271.    Admitted that Plaintiffs’ images appeared on Defendants’ website for a

      brief period of time. Otherwise denied.

             272.    Denied.

             273.    Denied.

             274.    Denied.

             275.    Denied.

             276.    Denied.

             277.    Admitted as a general statement. Denied in this context.

             278.    Admitted as a general statement. Denied in this context.

             279.    Admitted that Plaintiffs’ images appeared on Defendants’ website for a

      brief period of time. Otherwise denied.


                                            Page 19 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 20 of 26



             280.    Admitted that Defendants did not negotiate directly with any of the

      Plaintiffs. Otherwise without knowledge.

             281.    Admitted that Defendants did not negotiate directly with any of the

      Plaintiffs. Otherwise without knowledge.

             282.    Denied.

             283.    Denied.

             284.    Denied.

             285.    Denied.

             286.    Denied.

             287.    Denied.

             288.    Admitted as a general statement. Denied in this context.

             289.    Admitted that Plaintiffs’ images appeared on Defendants’ website for a

      brief period of time. Otherwise denied.

             290.    Denied.

             291.    Denied.

             292.    Denied.

             293.    Denied.

             294.    Denied.

             295.    Denied.

             296.    Denied.

             297.    Denied.

             298.    Denied.

             299.    Denied.


                                            Page 20 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 21 of 26




              300.    Denied.

              301.    Denied.

              302.    Denied.

              303.    Denied.

              304.    Denied.

              305.    Denied.

              306.    Denied.

              307.    Denied.



                                  AFFIRMATIVE DEFENSES

                                FIRST AFFIRMATIVE DEFENSE
                                               (Preemption)
              All of the claims asserted in this action are preempted by the Copyright Act, 17

      U.S.C. §301(a).


                              SECOND AFFIRMATIVE DEFENSE
                                            (Lack of Standing)

              Plaintiffs have no copyright, ownership interest, license or other right in the

      particular images at issue in this litigation. Accordingly, Plaintiffs lack standing to maintain

      this suit.


                                THIRD AFFIRMATIVE DEFENSE
                                 (Failure to Join an Indispensable Party)

              This action cannot proceed to a full and complete conclusion without the joinder of



                                              Page 21 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 22 of 26



      the photographer, or the other individual or entity who holds the copyright, to the particular

      image at issue in this litigation; that person or entity is an indispensable party to this action.


                              FOURTH AFFIRMATIVE DEFENSE
                                (First Amendment – Transformative Use)

              The image allegedly published by the Defendants was the result of an artistic

      creation by the photographer and costume designer as well by as the graphic designer of

      the advertisement, which creation substantially transformed the original image. That

      artistic creation did not rely on the Plaintiffs’ fame, but created a new persona distinct and

      essentially unrecognizable as compared to the original. In addition, the transformation is

      such that the new image would not confuse the on-line and print customers purportedly

      cultivated by the Plaintiffs. The image was so transformed that it cannot be said that

      Plaintiffs’ “persona” or “likeness” was involved in any respect.


                                FIFTH AFFIRMATIVE DEFENSE
                                       (No Exploitation of Likeness)

              Plaintiffs’ claims fail as a matter of law because Defendants did not identify the

      Plaintiffs, did not use their names, and did not exploit Plaintiffs’ identity or persona.

      Further, any use of Plaintiffs’ photograph did not involve their character, personality, or

      reputation, or other factors shaping identity; each image of the Plaintiffs was simply a

      pretty face without unique identifiers.


                                SIXTH AFFIRMATIVE DEFENSE
                                      (No Likelihood of Confusion)

              Defendants did not identify the Plaintiffs, did not use their name, and did not exploit

      Plaintiffs’ identity or persona. Further, any use of Plaintiffs’ photograph did not involve

                                                Page 22 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 23 of 26



      their character, personality, or reputation, or other factors shaping identity; each image of

      the Plaintiffs was simply a pretty face without unique identifiers. No reasonable person

      could believe that Plaintiffs were entertainers or members at Defendants’ social club, that

      any of the Plaintiffs endorsed Defendants’ club, or that they were otherwise affiliated with

      the Defendants’ organization.


                             SEVENTH AFFIRMATIVE DEFENSE
                                                 (Release)

             Plaintiffs executed one or more model releases whereby each granted the

      photographer permission to photograph her and through which each relinquished all of her

      rights to the photographer. Those rights include, but are not limited to, the subject

      photograph and associated rights to the Plaintiffs’ likeness. Plaintiffs released, conveyed

      and transferred to the photographer all future claims, causes of action, damages, and rights

      related to or arising from such image.


                             EIGHTH AFFIRMATIVE DEFENSE
                                                 (Waiver)

             Plaintiffs’ claims are barred by the doctrine of waiver. The Plaintiffs executed one

      or more model releases whereby each gave the photographer permission to photograph her

      and through which she relinquished her rights, including, but not limited to, the subject

      photograph and associated rights to the Plaintiffs’ likeness. Plaintiffs thereby waived and

      released all future claims, causes of action and damages, or such rights were relinquished

      to the photographer.




                                               Page 23 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 24 of 26



                               NINTH AFFIRMATIVE DEFENSE
                                             (Consent to Use)

              Plaintiffs’ claims fail as a matter of law because the Plaintiffs consented to public

      use and dissemination of the subject photographs of Plaintiffs by virtue of their execution

      of a model release whereby each gave the photographer permission to photograph her and

      through which she relinquished her rights including, but not limited to, the photo and the

      associated rights to the Plaintiffs’ likenesses.


                               TENTH AFFIRMATIVE DEFENSE
                                       (Payment – Work for Hire)

              Plaintiffs’ claims are barred due to payment. Each Plaintiff was paid for the

      modeling session that resulted in the photograph at issue. Each Plaintiff negotiated and

      gave a release for fair consideration, which release included all rights to the subject

      photograph and the associated rights to the Plaintiffs’ likeness.


                            ELEVENTH AFFIRMATIVE DEFENSE
                                                 (Laches)

              Plaintiffs are not entitled to injunctive relief of any kind due to their failure to

      enforce any of the claimed intellectual property rights over a period of several years and

      for their tacit acquiescence to open and obvious use of the subject images. The images

      complained of are ubiquitous on the Internet.


                             TWELFTH AFFIRMATIVE DEFENSE
                                           (Failure to Mitigate)

              Plaintiffs failed to take appropriate steps to mitigate any of the damages they

      allegedly sustained. Plaintiffs has long known of the fact that these particular image have

                                              Page 24 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 25 of 26



      been utilized by numerous vendors across the Internet and by a scores of adult

      entertainment businesses across the country. Rather than take appropriate action to police

      their intellectual property rights by giving public notice of their claims through

      mechanisms such as the Digital Millennium Copyright Act (which has a “take down” form

      which require the removal of content from a website at the request of the owner or the

      owner of the copyright), Plaintiffs have embarked on a surreptitious campaign of “gotcha”

      litigation. Plaintiffs surprises unsuspecting businesses with litigation and settle the suits

      under conditions of confidentiality so that others who make use of their photographs do

      not receive advance warning of their claims. As such, any damages actually sustained by

      the Plaintiffs should be reduced proportionally for failure to mitigate their losses.


                          THIRTEENTH AFFIRMATIVE DEFENSE
                              (Apportionment of Liability - Photographer)

              Plaintiffs’ alleged injuries were caused, in whole or in part by, the negligence of a

      third party (i.e., the photographer who took the subject photograph) and liability should be

      apportioned to that photographer according to fault, irrespective of whether such third party

      become a party to this action.. See, Fabre v. Marin, 623 So. 2d 1182 (Fla. 1993)


                          FOURTEENTH AFFIRMATIVE DEFENSE
                                         (No Economic Damages)

              Plaintiffs have suffered no commercial harm or damages. To the extent Plaintiffs

      are entitled to any relief, that relief should be limited to an injunction against the future use

      of her image by the Defendants.




                                               Page 25 of 26
Case 0:17-cv-62262-KMM Document 30 Entered on FLSD Docket 05/09/2018 Page 26 of 26



                          SIXTEENTH AFFIRMATIVE DEFENSE
                                   (No Competitive Undertaking)

             Defendants operate a social organization promoting the swinger’s lifestyle. They

      do not compete with the Plaintiffs in any respect, do not advertise in the same market, do

      not share common subscribers, members or customers and could not be mistaken as

      competitors by any consumer.


             I HEREBY CERTIFY that a true and correct copy of the foregoing Answer and

      Defenses has been furnished to LUDMILA KHOMIAK, Esquire [mila@casaslawfirm.

      com], Brickell Bayview Center, 80 S.W. 8th Street, Suite 2000, Miami, Florida 33130, by

      E-Mail this 9th day of May, 2018.



                                                     Respectfully submitted,

                                                     BENJAMIN, AARONSON, EDINGER
                                                     & PATANZO, P.A.
                                                       /s/ Gary S. Edinger
      DANIEL R. AARONSON, Esquire                    GARY S. EDINGER, Esquire
      Florida Bar No.: 314579                        Florida Bar No. 0606812
      1 Financial Plaza #1615                        305 N.E. 1st Street
      Ft. Lauderdale, Florida 33394                  Gainesville, Florida 32601
      (954) 779-1700 (Fax) (954) 779-1771            (352) 338-4440 (Fax) (352) 337-0696
      danaaron@bellsouth.net                         GSEdinger12@gmail.com

                                      Attorneys for Defendants




                                            Page 26 of 26
